AO 245B (Rev. 09/17)   Judgment in a Criminal Case
                        Sheet I



                                          UNITED STATES DISTRICT COURT
                                 Eastern District of North Carolina
                                                   )
       UNITED STATES OF AMERICA                    )
                                                       ·JUDGMENT IN A CRIMINAL CASE
                     v.                            )
                                                   )
           Eric Christopher Hall                         Case Number: 7:17-CR-3-lBO
                                                   )
                                                   )     USM Number: 63734-056
                                                   )
                                                   )      David William Long
                                                         Defendant's Attorney
                                                   )
THE DEFENDANT:
D pleaded guilty to count(s)
D pleaded nolo contendere to count(s)
   which was accepted by the court.
1iZJ was found guilty on count(s)         2,3,4 and 6
                                         ------------------------------------
     after a plea ofnot guilty.

The defendant is adjudicated guilty of these offenses:

Title & Section                    Nature of Offense                                                          Offense Ended

 21 U.S.C. § 841(a)(l) and 21       Possession With Intent to Distribute a Quantity of Cocaine Base (Crack)                              2
 u.s.c. § 841(b)(l)(C)              and Cocaine.
  18 U.S.C. § 924(c)(l)(A) and      Possession of a Firearm in Furtherance of a Drug Trafficking Crime.                                  3
  18 U.S.C. § 924(c)(l)(A)(i)

       The defendant is sentenced as provided in pages 2 through            __8___ of this judgment. The sentence is imposed pursuant to
the Sentencing Reform Act of 1984.
1iZJ The defendant has been found not guilty on count(s)            1and5
-0 Count(s)                                                Dis       Dare dismissed on the motion of the United States.

         It is ordered that the defendant mu8t notify the United States attorney for this district within 30 days of any- change of name, residence,
or mailing address until all fines, restitution, costs, and special assessments imposed by this judgment are fully paid. If ordered to pay restitution,
the defenaant must notify the court and United States attorney of material clianges in econormc circumstances.

                                                                             12/13/2018
                                                                            Date of Imposition of Judgment




                                                                            ~
                                                                             Terrence W. Boyle, Chief US District Judge
                                                                            Name and Title of Judge


                                                                             12/13/2018
                                                                            Date




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AO 245B (Rev. 09/17) Judgment in Criminal Case
                     Sheet 2 - Imprisonment

                                                                                                          Judgment -   Page _   _:3::....__   of   8
 DEFENDANT: Eric Christopher Hall
 CASENUMBER: 7:17-CR-3-lBO

                                                             IMPRISONMENT

           The defendant is hereby committed to the custody of the Federal Bureau of Prisons to be imprisoned for a total
term of:

  Count 2 - 180 months.' Counts 4 and 6 - 120 months and shall run concurrent with Count 2. Count 3 - 60 months and shall run consecutive to Count 2.
  The defendant shall receive credit for time served while in federal custody.



     liZ1 The court makes the following recommendations to the Bureau of Prisons:
  The Court recommends FCI Butner for incarceration.
  The Court also recommends the defendant participate in a program for substance abuse treatment and counseling while incarcerated.



    liZI The defendant is remanded to the custody of the United States Marshal.

    D The defendant shall surrender to the United States Marshal for this district:
           D at
                    - - - - - - - - - - D a.m.                  D p.m.        on
           D as notified by the United States Marshal.

    D The defendant shall surrender for service of sentence at the institution designated by the Bureau of Prisons:
           D before 2 p.m. on
           D as notified by the United States Marshal.
           D as notified by the Probation or Pretrial Services Office.


                                                                    RETURN
I have executed this judgment as follows:




         Defendant delivered on                                                            to

at - - - - - - - - - - - - - ' - - - - , with a certified copy of this judgment.



                                                                                                      UNITED STATES MARSHAL




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 AO 245B (Rev. 09/17) Judgment in a Criminal Case
                      Sheet 3 - Supervised Release
                                                                                                           Judgment   Page   __4_ of       8
 DEFENDANT: Eric Christopher Hall
 CASE NUMBER: 7:17-CR-3-IBO
                                                             SUPERVISED RELEASE
 Upon release from imprisonment, you will be on supervised release for a term of :
     Counts 2,4 and 6 - 3 years per count - concurrent
     Count 3 - 3 years and shall run concurrent with Counts 2,4 and 6




                                                        MANDATORY CONDITIONS

1.      You must not commit another federal, state or local crime.
2.      You must not unlawfully possess a controlled substance.
3.      You must refrain from any unlawful use of a controlled substance. You must submit to one drug test within 15 days of release from
        imprisonment and at least two periodic drug tests thereafter, as determined by the court.
               D The above drug testing condition is suspended, based on the court's determination that you
                   pose a low risk of future substance abuse. (check if applicable)
4.        D You must make restitution in accordance with 18 U.S.C. §§ 3663 and 3663A or any other statute authorizing a sentence of
              restitution. (check if applicable)
5.        ~ You must cooperate in the collection of DNA as directed by the probation officer. (check ifapplicable)
6.        D You must comply with the requirements of the Sex Offender Registration and Notification Act·(42 U.S.C. § 16901, et seq.) as
              directed by the probation officer, the Bureau of Prisons, or any state sex offender registration agency in the location where you
              reside, work, are a student, or were convicted of a qualifying offense. (check if appUcable)
7.        D You must partidpate in an approved program for domestic violence.      (check if applicable)




You must comply with the standard conditions that have been adopted by this court as well as with any other conditions on the attached
page.




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AO 245B (Rev. 09/17) Judgment in a Criminal Case
                      Sheet 3A - Supervised Release
                                                                                               Judgment-Page _ _. ::c5_ _ of _ _ _8_ __
DEFENDANT: Eric Christopher Hall
CASE NUMBER: 7:17-CR-3-lBO

                                     . STANDARD CONDITIONS OF SUPERVISION
As part of your s~pervised release, you must comply with the following standard conditions of supervision. These conditions are imposed
because they establish the basic expectations for your behavior while on supervision and identify the minimum tools needed by probation
officers to keep informed, report to the court about, and bring about improvements in your conduct and condition.

l. . You must report to the probation office in the federal judicial district where you are authorized to reside within 72 hours of your
     release from imprisonment, unless the probation officer instructs you to report to a different probation office or within a different time
     frame.
2. After initially reporting to the probation office, you will receive instructions from the court or the probation officer about how and
     when you must report to the probation officer, and you must report to the probation officer as instructed.
3. You must not knowingly leave the federal judicial district where you are authorized to reside without first getting permission from    1
                                                                                                                                              the
     court or the probation officer.
4. You must answer truthfully the questions asked by your probation officer.
5. You must live at a place approved by the probation officer. If you plan to change where you live or anything about your living
     arrangements (such as the people you live with), you must notify the probation officer at least 10 days before the change. If notifying
     the probation officer in advance is not possible due to unanticipated circumstances, you must notify the probation officer within 72
     hours of becoming aware of a change or expected change.
6. You must allow the probation officer to visit you at any time at your home or elsewhere, and you must permit the probation officer to
     take any items prohibited by the conditions of your supervision that he or she observes in plain view.
7. You must work full time (at least 30 hours per week) at a lawful type of employment, unless the probation officer excuses you from
     doing so. If you do not have full-time employment you must try to find full-time employment, unless the probation officer excuses
     you from doing so. If you plan to change where you work or anything about your work (such as your position or your job
     responsibilities), you must notify the probation officer at least IO days before the change. If notifying the probation officer at least IO
     days in advance is not possible due to unanticipated circumstances, you must notify the probation officer within 72 hours of
     becoming aware of a change or expected change.
8. You must not communicate or interact with someone you know is engaged in criminal activity. If you know someone has been
     convicted of a felony, you must not knowingly communicate or interact with that person without first getting the permission of the
     probation officer.
9. If you are arrested or questioned by a law enforcement officer, you must notify the probation officer within 72 hours.
IO. You must not own, possess, or have access to a firearm, ammunition, destructive device, or dangerous weapon (i.e., anything that was
     designed, or was modified for, the specific purpose of causing bodily injury or death to another person such as nunchakus or tasers).
11. You must not act or make any agreement with a law enforcement agency to act as a confidential human source or informant without
     first getting the permission of the court.
12. If the probation officer determines that you pose a risk to another person (including an organization), the probation officer may
     require you to notify the person about the risk and you must comply with that instruction. The probation officer may contact the
     person and confirm that you have notified the person about the risk.
13. You must follow the instructions of the probation officer related to the conditions of supervision.



U.S. Probation Office Use Only
A U.S. probation officer has instructed me on the conditions specified by the court and has provided me with a written copy of this
judgment containing these conditions. For further information regarding these conditions, see Overview ofProbation and Supervised
Release Conditions, available at: www.uscourts.gov.


Defendant's Signature                                                                                     Date _ _ _ _ _ _ _ _ _ _ _~




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AO 24SB (Rev. 09/17) Judgment in a Criminal Case
                      Sheet 3C - Supervised Release
                                                                                                               Judgment-Page __
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DEFENDANT: Eric Christopher Hall
CASE NUMBER: 7:17-CR-3-lBO

                           ADDITIONAL STANDARD CONDITIONS OF SUPERVISION
The defendant shall not incur new credit charges or open additional lines of credit without approval of the probation office.
The defendant shall provide the probation office with access to any requested financial information.

 The defendant shall consent to a warrantless search by a United States Probation Officer or, at the request of the probation officer, any other law
 enforceme~t officer, of the defendant's person and premises, including any vehicle, to determine compliance with the conditions ofthisjudgment.


 The defendant shall support the defendant's dependent(s) and meet other family responsibilities.




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AO 245B (Rev. 09/17)   Judgment in a Criminal Case
                       Sheet 5 - Criminal Monetary Penalties
                                                                                                        Judgment-Page -~7~- of                 8
 DEFENDANT: Eric Christopher Hall
 CASE NUMBER: 7:17-CR-3-IBO
                                               CRIMINAL MONETARY PENALTIES
      The defendant must pay the total criminal monetary penalties under the schedule of payments on Sheet 6.

                        Assessment                   JVTA Assessment*                                           Restitution
 TOTALS            $ 400.00                      $                              $                           $



 D    The determination of restitution is deferred until      • An Amended Judgment in a Criminal Case (AO 245C) will be entered
                                                         ----
      after such determination.

 D    The defendant must make restitution (including community restitution) to the following payees in the amount listed below.

      If the defendant makes a partial payment, each payee shall receive an approximately proportioned pa)'Il!ent, unless specified otherwise in
      the priority order or percentage payment column below. However, pursuant to 18 U.S.C. § 3664{1), all nonfederal victims must be paid
      before the United States is paid.                                 ·           ~                                                  ,

 Name of Payee                                                       Total Loss**             Restitution Ordered             Priority or Percentage




 TOTALS                                       0._00_
                                      $ _______                               $ _ _ _ _ _ _ _o_.o_o_


 D     Restitution amount ordered pursuant to plea agreement $

 D     The defendant must pay interest on restitution and a fine of more than $2,500, unless the restitution or fine is paid in full before the
       fifteenth day after the date of the judgment, pursuant to 18 U.S.C. § 3612(±). All of the payment options on Sheet 6 may be subject
       to penalties for delinquency and default, pursuant to 18 U.S.C. § 3612(g).
                                                                                    \


 D     The court determined that the defendant does not have the ability to pay interest and it is ordered that:

       D    the interest requirement is waived for the          D fine    D restitution.
       D the interest requirement for the            D   fine    D    restitution is modified as follows:

 *Justice for Victims of Trafficking Act of2015, Pub. L. No. 114-22.
 ** Findings for the total amount oflosses are required under Chapters 109A, 110, l lOA, and l 13A of Title 18 for offenses committed on or
 after September 13, 1994, but before April 23, 1996.


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AO 2458 (Rev. 09/17) Judgment in a Criminal Case
                     Sheet 6 - Schedule of Payments
                                                                                                           Judgment - Page   _8__      of           8
DEFENDANT: Eric Christopher Hall
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                                                      SCHEDULE OF PAYMENTS

Having assessed the defendant's ability to pay, payment of the total criminal monetary penalties is due as follows:

A     D      Lump sum payment of$                             due immediately, balance due

             D    not later than                                  , or
             D    in accordance with D      c,    D    D,     D    E, or      D F below; or

B     D      Payment to begin immediately (may be combined with            DC,         DD, or        D F below); or

C     D      Payment in equal                     (e.g., weekly, monthly, 'quarterly) installments of $                          over a period of
                           (e.g., months or years), to commence                   (e.g., 30 or 60 days) after the date of this judgment; or

D     D      Payment in equal                     (e.g., weekly, monthly, quarterly) installments of $                         over a period of         /
                           (e.g., months or years), to commence                   (e.g., 30 or 60 days) after release from imprisonment to a
             term of supervision; or

E     D      Payment during the term of supervised release will commence within                  (e.g., 30 or 60 days) after release from
             imprisonment. The court will set the payment plan based on an assessment of the defendant's ability to pay at that time; or

F     liZl   Special instructions regarding the payment of criminal monetary penalties:

             Payment of the special assessment shall be due immediately.




Unless the court has expressly ordered otherwise, ifthis judgment imposes imprisonment, payment ofcriminal monetary penalties is due during
the period of imprisonment. All criminal monetary penalties, except those payments made through the Federal Bureau of Prisons' Inmate
Financial Responsibility Program, are made to the clerk of the court.

The defendant shall receive credit for all payments previously made toward any criminal monetary penalties imposed.




D    Joint and Several

     Defendant and Co-Defendant Names and Case Numbers (including defendant number), Total Amount, Joint and Several Amount,
     and corresponding payee, if appropriate.




D    The defendant shall pay the cost of prosecution.

D    The defendant shall pay the following court cost(s):

D    The defendant shall forfeit the defendant's interest in the following property to the United States:



Payments shall be applied in the following order: (l) assessment, (2) restitution principal, (3) restitution interest, (4) fine principal, (5) fine
interest, (6) community restitution, (7) NTA assessment, (8) penalties, and (9) costs, including cost of prosecution and court costs.



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